
FAWSETT, District Judge,
concurring in part and dissenting in part:
While I join Parts I, II, and III.B of the majority opinion, I respectfully dissent from Part III.A concerning the hostile work environment sexual harassment claim and those portions of Part III.C which concern the Alabama tort claims of assault and battery and invasion of privacy.1 Regarding the former section, the majority decides factual matters which should be reserved for jury determination. With respect to the latter section, the majority disposes of the state law claims on an improper and inequitable procedural basis without permitting the Appellants the opportunity to cure the technical defects found in the complaint.

I. Hostile Work Environment Sexual Harassment

When deciding a motion for summary judgment, “the judge’s function is not himself to weigh the evidence and determine the truth of the matter but to determine whether there is a genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249, 106 S.Ct. 2505, 2511, 91 L.Ed.2d 202 (1986). As explained by the United States Supreme Court:
Credibility determinations, the weighing of the evidence, and the drawing of legitimate inferences from the facts are jury functions, not those of a judge, whether he is ruling on a motion for summary judgment or for a directed verdict. The evidence of the non-movant is to be believed, and all justifiable inferences are to be drawn in his favor.
Id. at 255, 106 S.Ct. at 2513 (citing Adickes v. S.H. Kress &amp; Co., 398 U.S. 144, 158-59, 90 S.Ct. 1598, 1608-09, 26 L.Ed.2d 142 (1970)). Therefore, “[i]f a reasonable fact finder evaluating the evidence could draw more than one inference from the facts, and if that inference introduces a genuine issue of material fact, then the court should not grant summary judgment.” Allen v. Bd. of Pub. Educ. for Bibb County, Ga., 495 F.3d 1306, 1315 (11th Cir.2007) (citing Samples ex rel. Samples v. City of Atlanta, Ga., 846 F.2d 1328, 1330 (11th Cir.1988)). The substantive law identifies which facts are material to a given cause of action. Anderson, 477 U.S. at 248, 106 S.Ct. at 2510.
Title VII prohibits discrimination “against any individual with respect to his compensation, terms, conditions, or privileges of employment, because of such individual’s race, color, religion, sex, or national origin.” 42 U.S.C. § 2000e-2(a)(l). As the Supreme Court has explained, “[t]he phrase ‘terms, conditions, or privileges of employment’ evinces a congressional intent to strike at the entire spectrum of disparate treatment of men and women in employment, which includes requiring people to work in a discriminatorily hostile or abusive environment.” Harris v. Forklift Sys., Inc., 510 U.S. 17, 21, 114 S.Ct. 367, 370, 126 L.Ed.2d 295 (1993) (citation and quotation marks omitted). To determine whether the challenged conduct constitutes sexual harassment, a court should consider the conduct in context, rather than as separate and isolated acts, and determine “under the totality of the circumstances” *1258whether it is “sufficiently severe or pervasive to alter the terms or conditions of the plaintiffs employment and create a hostile or abusive working environment.” Mendoza v. Borden, Inc., 195 F.3d 1238, 1246 (11th Cir.1999) (en banc) (citing Allen v. Tyson Foods, 121 F.3d 642, 647 (11th Cir. 1997)).
The majority begins its analysis of the Appellants’ sexual harassment claims by first eliminating from its consideration statements and conduct that it deems not to be of a sexual or gender-related nature. According to the majority, most of Cavaluzzi’s complained-of conduct constitutes mere compliments or flirtations which are not actionable under Title VII. However, Cavaluzzi’s conduct should not so easily be cast in this light.
According to the record evidence both Appellants stated that shortly after Cavaluzzi was assigned to their district, he began harassing them with telephone calls relating to business which then degenerated into inappropriate sexual comments and suggestions. Cavaluzzi’s behavior then escalated into repeated telephone calls filled with sexually suggestive comments, with the addition of a pattern of inappropriate touchings on occasions when Cavaluzzi was in a meeting attended by the Appellants or when Cavaluzzi visited these managers’ respective Home Depot stores. The touchings, although intermittent and opportunistic, were again followed with constant telephone calls of a sexual nature to each store manager. These calls ranged from two to three times a week to twelve, times a week during the period from March, when Cavaluzzi arrived in their district, into November of 2005, shortly before both Appellants were fired. After the initial calls, Cavaluzzi discussed no business and repeatedly made sexually suggestive comments to these subordinate employees. Although the majority concludes as a matter of law that most of these comments were mere flirtations, factual issues such as the overall context in which such comments were made, as well as Cavaluzzi’s demeanor and intonation, preclude this determination.
Certainly there is a difference between a coworker cheerfully stating, “Hey, I really like your pants,” and a coworker stating, “I really like how you look in those pants,” coupled with several more overtly sexual comments. Similarly, a coworker’s invitation to join him in a hotel room may be friendly and professional or may be laden with innuendo, particularly when such invitations have been repeatedly made and have been coupled with other sexually charged comments. Courts should be hesitant to supplant the role of jurors by making conclusions as to the proper interpretation of such facts.
In the instant case the record shows that Cavaluzzi made many statements that, when considered in isolation, could be interpreted as either merely complimentary or overtly sexual. The interpretation depends on the context. The majority, instead of viewing the evidence in the light most favorable to the non-moving parties and drawing all reasonable inferences in their favor, selects individual statements from among several made during a conversation or meeting, examines these statements out of context and in a vacuum, and then determines that they are not gender-related. The record, however, contains ample evidence from which a reasonable jury could determine that the comments of Cavaluzzi, when viewed in context, were part of a persistent effort to enter an unwelcomed sexual relationship with his subordinate employees and were not merely innocent, innocuous, flirtatious, or purely complimentary.
For example, Cavaluzzi said that he liked Corbitt’s “baby face,” that Corbitt was “small and cute,” and that he liked the way Corbitt dressed. When viewed in iso*1259lation, such comments could be construed as merely complimentary. However, when these statement are viewed in context with other comments Cavaluzzi made during the same conversations, the sexual overtures of the statements becomes pronounced. For instance in these conversations, Cavaluzzi told Corbitt that Corbitt was not Cavaluzzi’s “usual type” but he “could not stop thinking about” Corbitt, that Cavaluzzi knew Corbitt was not gay but Cavaluzzi could show Corbitt how, and he would “like it.” In addition, Cavaluzzi asked Corbitt if he “wore boxers or briefs or nothing,” and if Corbitt colored his hair, remarking that it must be Corbitt’s “natural color down there too.” He asked Corbitt if he “wasn’t bored with the same woman,” referring to Corbitt’s wife, asked if Corbitt and his wife “swing,” and told Corbitt to visit specified gay websites, saying Corbitt “should look at them” so Corbitt “could see what he is talking about.”
Similarly, Cavaluzzi called Raya several times a week asking such things as what Raya was wearing and if he was wearing the pants that Cavaluzzi liked. Cavaluzzi stated that Raya “always dressed so nice,” “was cute,” and had beautiful hair. These statements, when examined alone, could be deemed mere flirtations; however, the record reflects such comments were accompanied by Cavaluzzi telling Raya, “I like the rough look,” and “you’re the Italian heifer that I like.” When viewed in context an inappropriately gender-based and sexual meaning may be reasonably inferred from such statements. This inference is strengthened by the pervasive and repetitive nature of Cavaluzzi’s comments as well as his inappropriate touchings of his two subordinate employees.
The true import of any statement is not clear without context. As the Supreme Court has instructed:
In same-sex (as in all) harassment cases,
[the severe or pervasive] inquiry requires careful consideration of the social context in which particular behavior occurs and is experienced by its target .... The real social impact of workplace behavior often depends on a constellation of surrounding circumstances, expectations, and relationships which are not fully captured by a simple recitation of the words used or the physical acts performed. Common sense, and an appropriate sensitivity to social context, will enable courts and juries to distinguish between simple teasing or roughhousing among members of the same sex, and conduct which a reasonable person in the plaintiffs position would find severely hostile or abusive.
Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75, 81-82, 118 S.Ct. 998, 1003, 140 L.Ed.2d 201 (1998) (emphasis added); see also Draper v. Coeur Rochester, Inc., 147 F.3d 1104, 1109 (9th Cir.1998) (“Discriminatory behavior comes in all shapes and sizes, and what might be an innocuous occurrence in some circumstances may, in the context of a pattern of discriminatory harassment, take on an altogether different character, causing a worker to feel demeaned, humiliated, or intimidated on account of her gender.”). The record in the instant case reveals a multitude of inappropriate, sexually-based comments made by Cavaluzzi to the claimants in this case. Select comments, pulled from their context and deemed facially inoffensive by the majority, demonstrate an impermissible sex bias when viewed in context. In finding otherwise, the majority weighs the evidence, disregards context, and violates a basic tenet of summary judgment jurisprudence by drawing inferences from the selected facts in favor of the movant-Áppellee rather than in favor of the nonmovantAppellants.
In addition, the majority dismisses some of the challenged touchings as not sexual in nature. For instance, the majority concludes that Cavaluzzi putting his arm *1260around Raya is not sexual and states, “if a heterosexual man had done this, Raya would likely not have thought anything of it.” The majority glosses over the fact that at the same time Cavaluzzi put his arm around Raya’s shoulders, he put his hand on Raya’s thigh under a table where they were seated and where others who were present ostensibly could not see. Both Appellants reasonably interpreted Cavaluzzi’s conduct toward them as solicitations for sex and feared being fired if they complained. The majority also glosses over the number of touchings and the full body hug given by Cavaluzzi to Raya in ■ which Cavaluzzi pushed himself into Raya’s “privates.” Moreover, Cavaluzzi’s conduct towards Raya caused other store managers in the region to start calling Raya “Lenny’s Bitch,” which suggests that the conduct was in fact sexual in nature to other observers. In any event, a reasonable jury could reach this conclusion.2
Next, the majority determines that the conduct in question is not so severe or pervasive as to constitute actionable harassment. In reaching its decision, the majority concludes that the Appellants in their sworn answers to interrogatories exaggerate the number of times that Cavaluzzi harassed them. This is one inference that may be derived from the record. However, another reasonable inference is that the conduct occurred exactly as many times as the Appellants contend that it did. A trial by jury is the appropriate forum to choose which inference to draw from the record. This issue should not be decided by a court as a matter of law by rejecting sworn testimony of record as unworthy of belief on a motion for summary judgment.
After whittling down the conduct of Cavaluzzi that it would consider in its analysis, the majority concludes that the conduct alleged by the Appellants is “probably” not more severe than the conduct alleged in Gupta3 and Mendoza.4 According to the majority, certain of Cavaluzzi’s comments may have been “relatively severe,” but most of these com*1261ments were not sex-based. Therefore, the majority concludes that under an objective standard, “Cavaluzzi’s alleged sexual harassment was not sufficiently severe or pervasive to support a hostile work environment claim .... ” I respectfully disagree.
The conduct in this case goes well beyond “ordinary socializing in the workplace.” The Appellants found Cavaluzzi’s conduct offensive, and several of their peers in management testified that they found the conduct to be offensive. While the law utilizes an objective standard to evaluate hostile work environment claims, this standard is justifiable only if it accurately reflects real-life workplace conditions and expectations. When the objective “reasonable person” standard becomes so divorced from reality that a reasonable person can be unreasonably subjected to discriminatory conduct under the case law, the courts cease to give effect to the statutory language and the remedial purpose of Title VII.
The record provides evidence from which a reasonable jury could conclude that the Appellee’s regional human resources manager engaged in conduct which constituted sexual harassment and created an unreasonably hostile work environment for two of his store managers. Because the majority opinion improperly removes the resolution of factual matters from the jury, I dissent from Part III.A of the opinion.

II. State Law Claims of Assault and Battery and Invasion of Privacy

The majority concludes that: (1) summary judgment should be affirmed on the state law claims of assault and battery because of the lack of record evidence of ratification of Cavaluzzi’s conduct by Appellee, and (2) summary judgment should be affirmed on the invasion of privacy claim because the majority is unable to discern a factual basis for the claim and Appellants have failed to state a claim. Because the record provides evidence of Appellee’s ratification of Cavaluzzi’s assaults and batteries as well as support for the invasion of privacy claim, I must dissent.
On the one hand, the majority explains its decision affirming summary judgment on the state law claims by describing these claims as shotgun pleadings which make it “impossible to determine the factual basis for each claim”; on the other hand, the majority disclaims using shotgun pleadings as a basis for its decision and finds it has “no occasion to decide whether shotgun pleading is in and of itself an appropriate basis for affirming the grant of summary judgment on any of the claims.” The majority opinion states that summary judgment was properly granted on the invasion of privacy claim because the majority is “not able to discern the factual basis” for the claim. This is a hallmark of shotgun pleading analysis. Thus, despite its proclamations to the contrary, the majority appears to affirm the grant of summary judgment on the basis of shotgun pleading.
This Circuit has previously held that the appropriate remedy for shotgun pleadings is not to dismiss the complaint but instead is to strike the complaint and order a more definite statement. Magluta v. Samples, 256 F.3d 1282, 1284-85 (11th Cir.2001).5 *1262For instance, in a case cited by the majority, Cesnik v. Edgewood Baptist Church, 88 F.3d 902, 910-11 (11th Cir.1996), the Court vacated summary judgment and remanded the claims found to constitute shotgun pleadings to the district court with instructions to require the plaintiffs to replead.6 Based on this precedent, it is inappropriate to dismiss the state law claims and affirm summary judgment on the basis of a “shotgun pleading.” Instead, the proper remedy would be to vacate summary judgment on count three and remand to the district court with directions to strike the state law claims and order the Appellants to replead. Particularly at the summary judgment stage this result would be the more equitable approach to the problem of inexact pleading to avoid wasting the large amount of discovery already completed in this case.
In addition, the majority’s approach does not reflect the realities of federal litigation. A significant portion of complaints filed in federal court could, in whole or in part, meet the definition of “shotgun pleading.” Nevertheless, where the meaning of the complaint is reasonably diseernable, parties and courts tend to proceed to discovery. Regardless of the propriety of this practice, affirming summary judgment on the issue of “shotgun pleading” gives the defendant an incentive to forego this pleading challenge at the proper stage and instead use it as insurance against a district court ruling that is either adverse to it or favorable yet susceptible to reversal on appeal. This gives defendants an unfair trump card to use throughout the entire litigation, regardless of the procedural posture of the case or the development of the record.
In the instant matter, the Appellee had an opportunity to raise a challenge to the sufficiency of the pleadings through a motion to dismiss or strike but did not file such motion with the district court. While the Appellee raised the affirmative defense of failure to state a claim in its answer, this was one of fourteen boilerplate defenses in the responsive pleading and was not asserted in a separate motion under Federal Rule of Civil Procedure 12(b). Instead, the case proceeded on the complaint through discovery, resulting in the development of a record which supplements and supports the allegations of the complaint.7 It is unjust to turn a blind eye to this evidentiary record and dismiss the case on a technical pleading violation.
This result is particularly unfair since the Appellants had no prior notice that the affirmative defense of failure to state a claim would be considered on appeal. Indeed, this Circuit has previously stated, “we will not decide whether the plaintiff failed to state a claim unless the defendant preserved that defense in the district court pursuant to Fed.R.Civ.P. 12(h)(2).” Blue Cross &amp; Blue Shield of Ala. v. Sanders, 138 F.3d 1347, 1354 (11th Cir.1998) (cita*1263tions omitted); see also McGinnis v. Ingram Equip. Co., Inc., 918 F.2d 1491, 1494 (11th Cir.1990) (en banc) (finding a boilerplate assertion of the defense to have been abandoned when not raised in any motion and not incorporated into the pretrial order). Rule 12(h)(2) permits a party to raise this defense through pleading, by motion under Rule 12(c), or at trial. Although the Appellee asserted the defense in its answer, the defense was not specific to any particular claim. Surely if the Appellants’ complaint is considered insufficient to provide proper notice of their state law claims, the statement “[w]ith respect to some or all of [the Appellants’] claims, [the Appellants’] Complaint fails to state a claim upon which relief may be granted” in the answer is insufficient to provide proper notice of this affirmative defense.
In addition, the Appellee did not raise the issue of failure to state a claim in any motion or argument to this Court or the court below. The Appellee refers to the sufficiency of the Appellants’ “allegations” in its motion for summary judgment and briefs on appeal, but it does so in relation to all of the Appellants’ claims and appears to treat the term synonymously with “record evidence.”8 The words “shotgun pleading” or “failure to state a claim” appear nowhere in the filings of the parties on summary judgment or on appeal. Because the defense of failure to state a claim was not previously raised in a manner providing adequate notice to the Appellants, it should be deemed abandoned and not utilized as a basis to affirm summary judgment.
Moreover, the record reflects that the litigation below had proceeded well beyond the pleading stage, was set for trial, and the parties had appeared before the trial judge for a pretrial conference. The issue of a shotgun pleading was not raised at the pretrial conference and was not incorporated into the pretrial order. Thus, the Appellee’s motion for summary judgment, the trial court’s order on the motion, and the arguments of the parties on appeal provided the Appellants with notice only that the evidence underlying their claims was at issue. The Appellants did not have notice that the technical sufficiency of their pleadings could be dispositive of their claims at this stage of the litigation.
The majority does appear to delve briefly into the record to conclude that the Appellee did not ratify Cavaluzzi’s assaults and batteries of the Appellants because it had no actual notice of this conduct. To the contrary, the record demonstrates that the Appellants spoke with several Home Depot managers and human resources personnel on multiple occasions to complain about Cavaluzzi’s conduct, beginning in April of 2005 for Raya and June of 2005 for Corbitt. The district manager and at least two store human resources managers were directly apprised of the inappropriate sexual harassment of the Appellants by Cavaluzzi. Additionally, a number of members of management and human resources actually witnessed Cavaluzzi’s *1264touchings and inappropriate comments.9 These persons were designated under Home Depot’s policy to receive and correct complaints of harassment; therefore, their knowledge of Cavaluzzi’s conduct also may be attributed to Home Depot for purposes of the state law claims. See Mardis v. Robbins Tire &amp; Rubber Co., 669 So.2d 885, 889 (Ala.1995) (indicating that a complaint to a plant personnel manager would constitute notice to the employer of harassing conduct); Breda v. Wolf Camera &amp; Video, 222 F.3d 886, 889-90 (11th Cir.2000) (finding in a Title VII case that an employer’s notice of harassing conduct is established when the employee reports the conduct to a designated person set forth in the employer’s anti-harassment policy). A reasonable jury could determine from this evidence that Home Depot had actual knowledge of the assaults and batteries.
In its analysis, the majority improperly narrows the issue actually raised on appeal by stating that “[t]he only argument Appellants make on appeal that Home Depot had ‘actual knowledge’ of the assaults and batteries is that there is record evidence that Appellants told Calhoun about them in April and June of 2005.” Rather, the issue as stated by Appellants is: “The Trial Court erred by not recognizing the Home Depot store managers and store HR managers as appropriate representative^] to receive and to discern sexual harassment complaints.” (Appellants’ Brief at 28.) This is identical to the issue of the knowledge of members of Home Depot management and human resources personnel developed in greater detail in the portion of the Appellants’ Brief addressing the Faragher defense to sexual harassment claims.10 (Id. at 18-20.)
The majority also states, “We need not reach the issue of whether Calhoun was the correct person to notify about this conduct, as there is no evidence in the record that the Appellants actually told Calhoun about the tortious conduct now underlying the assault and battery claims.” First, the Appellants offered evidence that they told Calhoun of Cavaluzzi’s inappropriate behavior, and a jury could reasonably infer that these conversations included discussions of Cavaluzzi’s alleged assaults and batteries. Secondly, this statement by the majority completely ignores the record evidence that Calhoun actually witnessed this conduct. Thus, I cannot concur with the majority opinion affirming summary judgment on these claims.
For these reasons, I respectfully dissent from the portion of Part III.C of the majority opinion which affirms summary judgment on the state tort claims of assault and battery and invasion of privacy. I concur with the portion of Part III.C which affirms summary judgment on the claim of outrage based on the lack of evidence in the record demonstrating severe emotional distress.

. The record reveals that in late March of 2005, during a regional managers’ meeting, Cavaluzzi came up to both Appellants and began playing with their hair and rubbing their shoulders, giving them "something akin to an intimate massage.’’ Later that evening Corbitt was in his car, and Cavaluzzi reached in and massaged Corbitt’s neck and shoulders, inviting him to Cavaluzzi's hotel room for drinks. Around the same time, Cavaluzzi entered a room in which Raya was seated at a table with another employee, sat down next to Raya, put his left arm on Raya’s shoulder, and then at the same time put his right hand on Raya’s thigh under the table. In late April of 2005, Cavaluzzi approached Raya from behind and ran his fingers through Raya's hair in front of other regional managers. At this point, the other managers began referring to Raya as "Lenny's Bitch.” At a store opening in June, Cavaluzzi gave Raya a full body hug, and started massaging Raya’s back. During this hug, Cavaluzzi pressed his whole body against Raya such that Cavaluzzi's body was touching Raya's "privates” during the hug. During the first week of August, Corbitt was working alone in the training room of the Montlimar store when Cavaluzzi “snuck up” behind him, put one of his hands on Corbitt’s shoulder, and rubbed Corbitt's stomach with the other. At the end of August, during a managers' meeting, Cavaluzzi came up behind Raya while Raya was seated. Cavaluzzi began massaging Raya’s neck and shoulders while commenting that Raya was in good shape and felt muscular and trim. Finally, in November, Corbitt attended a meeting with Cavaluzzi and two other managers during which Cavaluzzi gave Corbitt a full body hug and rubbed his back, neck, head, and shoulders. Thus, the record reveals, in addition to the constant, sexually-charged phone calls, evidence of Cavaluzzi touching Corbitt at least four times and Raya at least five times in what a reasonable jury could find to be a sexual manner.


. Gupta v. Fla. Bd. of Regents, 212 F.3d 571 (11th Cir.2000), abrogated on other grounds as recognized in Crawford v. Carroll, 529 F.3d 961, 973-74 (11th Cir.2008).


. Mendoza, 195 F.3d 1238.


. As demonstrated by Wagner v. First Horizon Pharm. Corp., 464 F.3d 1273, 1279-80 &amp; n. 7 (11th Cir.2006), Magluta appears to remain the applicable law governing the appropriate treatment of shotgun pleadings even after this Circuit’s decision in Wagner v. Daewoo Heavy Indus. Am. Corp., 314 F.3d 541, 542 (11th Cir.2002) (en banc) (finding a district court had no duty to sua sponte grant leave to amend a complaint upon dismissal of the complaint).


. The rule against shotgun pleadings addresses the problem of unclear, vague, or convoluted pleadings which prevent a court from readily determining whether the pleadings state a claim. The remedy of ordering a more definite statement directly addresses this problem, directs the plaintiff to more clearly state its allegations, and then provides the court an opportunity to evaluate whether more artfully drafted pleadings state a claim for which relief may be granted.


. For example, the record reveals ample evidence supporting the Appellants’ claim for invasion of privacy: Cavaluzzi repeatedly asked sexually suggestive questions about the Appellants’ marriages, apparel, bodies, sexual activities, and personal grooming habits. Such inquiries constitute intrusions into the Appellants' privacy under Alabama law. See, e.g., Ex parte Atmore Cmty. Hosp., 719 So.2d 1190, 1194 (Ala. 1998); McIsaac v. WZEWFM Corp., 495 So.2d 649, 651 (Ala. 1986); Phillips v. Smalley Maint. Servs., Inc., 435 So.2d 705, 708-09 (Ala. 1983).


. For instance, in its motion for summary judgment, the Appellee discusses Corbitt's and Raya’s "allegations” of harassment and proceeds to cite record evidence as examples of these "allegations.” (R.86-3 at 4-9, 13-16; see also id. at 28 ("Accepting [Appellants'] allegations as true, for purposes of this motion only, the alleged conduct does not rise to the level of severity or pervasiveness required within this Circuit.”).) The Appellee includes similar terminology in its Brief on Appeal, using the word "allegations” to describe the record evidence and to argue that this evidence does not meet the applicable legal standard. (Appellee’s Brief at 24-25, 27-29, 42-45.) In fact, in its statement regarding oral argument, Appellee describes the state law issue as follows: "[Appellants] could not prove state law claims of outrage or invasion of privacy or that Home Depot ratified the alleged actions of the harasser.” {Id. at ii (emphasis added).)


. Further complaints about his conduct were made directly to Cavaluzzi, the person designated by Appellee to enforce its human resource policies throughout the district. The record reflects that Cavaluzzi has been transferred by Appellee to Appellants' district after he had violated a Home Depot's policy by having an inappropriate relationship with a subordinate employee.


. For example, with regards to the inappropriate conduct of Cavaluzzi, Appellants state that "at least eight Home Depot store managers or store HR managers personally witnessed” such conduct. (Appellants’ Brief at 18.)

